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 5
 6   ATTORNEY FOR DEFENDANT
     JUAN MENDOZA-CORRALES
 7
 8
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )               CR.-S-08-454-JAM
                                   )
12          PLAINTIFF,             )               STIPULATION AND
                                   )               ORDER CONTINUING THE
13          v.                     )               JUDGMENT AND SENTENCING
                                   )               DATE AND SETTING A STATUS
14   JUAN MENDOZA-CORRALES,        )               CONFERENCE /POTENTIAL
       et al.,                     )               JUDGMENT AND SENTENCING
15                                 )               DATE OF TUESDAY
            DEFENDANTS.            )               MAY 11, 2010
16   _______________________________)
17
           Plaintiff United States of America, by its counsel, Assistant United States
18
     Attorney, Mr. Michael Beckwith and defendant, Mr. Juan Mendoza-Corrales, by his
19
     attorney, Mr. James R. Greiner, hereby stipulate and agree that the current Court date
20
     of Tuesday, April 20, 2010, at 9:30 a.m., can be vacated by the Court. The parties
21
     agree and stipulate that a status conference/potential judgment and sentencing date of
22
     Tuesday, May 11, 2010, at 9:30 a.m., can be set by the Court.
23
           The Court’s courtroom deputy, Mr, Harry Vine, has been contacted to ensure
24
     the Court’s calendar was available for judgment and sentence on that date and the
25
     Court is available on Tuesday, May 11, 2010.
26
           The time is needed by the defense for further legal research the issues
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 1   regarding sentencing of the defendant that have been brought up by the government.
 2         It is so stipulated and agreed.
 3
 4                                    BENJAMIN B. WAGNER
                                      UNITED STATES ATTORNEY
 5
                                      /s/ Michael Beckwith by e mail authorization
 6
     DATED: 4-16-10                   _____________________________________
 7                                    Michael Beckwith
                                      ASSISTANT UNITED STATES ATTORNEYS
 8                                    ATTORNEY FOR THE PLAINTIFF
 9
10   DATED: 4-16-10                   /s/ James R. Greiner
                                      _______________________________________
11                                    James R. Greiner
                                      Attorney for Defendant
12                                    Juan Mendoza-Corrales
13
14
                                             ORDER
15
16         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
17
18
19   DATED: APRIL 16, 2010.
20
21
22
23
24
25                             /s/ John A. Mendez
                               JOHN A. MENDEZ
26                             UNITED STATES
                               DISTRICT COURT JUDGE
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                                                2
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